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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                                                                         FTLED
                             EASTERN DTYISION
                                                                             SEp z   s Z0t6g
 UNITED STATES OF AMERICA

       v.
                                                                      "IH-?U$'rB,ElBf     R,I*,
EDGAR ROQUE,                                         No. 15 CR 485     armErcilnfir
   also known as "Egry,"*E,"                                           $t\qrsrsto Su,h" 6rusn
   "Cholor" and "Jesser"
RICHARD ROQUE,                                       Violations: fitle 21, United
   also known as "Traps,"                            States Code, Sections 841(a)(1),
ANGELICA CERVANTES,                                  and 846
JUAN J. CERVANTES,
   also known as "Pon;rtail,"
IVAN DIAZ,                                           Superseding Indictment
    also known as "Tec,"
PHILLP DIAZ,
   also known as "PH,"
MARTELL JACKSON,
  also known as "Li'l Pimp,"
ANTHONY KOON,
JOSE ANTONIO MIRELES, JR.,
   also known,as "Choi,"
JORGE LUIS OCHOA-CANELA,
   also known as "Tee,"
OMAR RAMIREZ,                                        UNDER SEAL
   also known as "Macizo,"
   "Cizor" and ttCecilr"
GERARDO SANCHEZ,
   also known as "Morrow," and
JESUS VALENCIA,
   also known as "K" and "Cocol,,

                                    COI.]I\],T ONE

      The SPECIAL AUGUST 20I-b GRAND JURY charges:

      1.    At times material to this Indictment:

            a.     The National Railroad Passenger Corporation, also known           as

"Amtrak," was an American passenger railroad service that provided passenger and
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freight train serwice in 46 states. Amtrak operated a commercial shipping service

 called "Amtrak Express." Customers could ship small packages and freight under the

size of a truckload via Amtrak Express between a number of locations where Amtrak

provided passenger train service. Among other locations, Amtrak operated passenger

train and Amtrak Express shipping     serrrices   in Chicago, Illinois, and Los Angeles,
California. Amtrak also provided passenger and shipping services between Los

Angeles and Chicago.

             b.     Instagram, Inc., which was owned by Facebook Inc., was a social

networking company that operated a free social nehvorking application and website,

accessed through web-enabled electronic devices and       at Instagram.com. Instagram
users established accounts and created profiles, which they used to post and share

photographs and other information from web-enabled electronic devices, such as

certain cellular phones, tablets, and computers. Among other senrices, Instagram

provided its users with a service called "Instagram Direct," which was also known as

"Instagram Direct Message" and "DM." This service allowed users to exchange

threaded messages with one or more people. Users were able to create group

conversations in Instagram Direct by sending a message to two or more people using

the tools provided by Instagram. Instagram Direct messages were private and only

viewable by those account users included in a particular conversation.

      2.     Beginning no later than in or about 2071, and continuing until at least

on or about September 29, 2OL6, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,




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                     also know,                           and "Jesse,"
                                  ",'ffi#'#r9%Yt"ir,"
                                    RICIIARD ROQUE,
                                 also known as "Traps,"
                              ANGELICA CERVANTES,
                                ruAN J. CERVANTES,
                               also known as "Pon5rtail,"
                                      IVA}I DIAZ,
                                  also known as "Tec,"
                                     PHILLP DTAZ,
                                 also known as "PH,"
                                MARTELL JACKSON,
                              also known as "Li'l Pi-p,"
                                 ANTHONY KOON
                           JosE exr-oNlo M-inniES, JR.,
                                also known as "Choi "
                           JORGE LUIS OCHOE-CENUI,A,
                                 also known as "Tee,"
                                  OMAR RAMIREZ,
                    also known as "Macizor" "Cizor" and "Cecil," and
                                GERARDO SANCHEZ,
                               also known as "Morro\M,"

defendants herein, did conspire with each other, with Jesus Valencia, and with others

known and unknown to the Grand Jory, to knowingly and intentionally possess with

intent to distribute and distribute a controlled substance, namely, a quantity of a

mixture and substance containing a detectable amount of heroin, a Schedule I

Controlled Substance, and a quantity of a mixture and substance containing a

detectable amount of cocaine, a Schedule   II Controlled Substance, in violation of Title
21, United States Code, Section 841(a)(1).

      3.     It   was part of the conspiracy that defendants EDGAR ROQUE and

RICIIARD ROQUE, as well as other individuals known and unknown to the Grand

Jrry, obtained wholesale quantities of heroin and cocaine for distribution to others.




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       4.     It was further part of the conspiracy that, at the direction of EDGAR
ROQUE, Jesus Valencia and other individuals known and unknown to the Grand

Jury, packaged and then brought the heroin     and. cocaine to   Amtrak facilities at Union

Station in Los Angeles, California, and elsewhere, for shipment from Los Angeles to
                                                                                        \



Chicago via Amtrak Express.

       5.     It was further part of the conspiracy that defendants EDGAR ROQUE,
ANGELICA CERVANTES, JUAN J. CERVANTES, IVAN DIAZ, PHILLP DIAZ,

MARTELL JACKSON, JOSP ANTONIO MIRELES, JR., JORGE LUIS OCHOA-

CANELA, OMAR RAMIREZ, GERARDO SANCIIEZ, and. other individuals known

and unknown to the Grand Jur;r, including Jesus Valencia, at various times received

wholesale quantities of narcotics shipped by the conspiracy's members from Los

Angeles to Chicago, including by traveling to Union Station in Chicago, and causing

others to travel to Union Station, and there pick up the packages of cocaine and

heroin shipped via Amtrak Express.

       6.    It was further part of the conspiracy that EDGAR ROQUE, RICIIARD
ROQUE, PHILLP DTAZ, JOSE A}iITONIO MIRELES,JR., JORGE LUIS OCHOA-

CANELA, OMAR RAMIREZ, GERARDO SANCHEZ, arrd other individuals known

and unknown to the Grand Jury engaged in telephonic and electronic
communications, including via Instagram Direct, in connection with the distribution

of narcotics and the collection of narcotics proceeds.




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       7.    It   was further part of the conspiracy that MARTELL JACKSON and

others purchased wholesale quantities of heroin and cocaine from the conspiracy's

other members on credit for resale in the Chicago area and elsewhere.

       8.    It   was further part of the conspiracy that the defendants and other

individuals known and unknown to the Grand Jury did conceal and hide and cause

to be concealed and hidden the purposes and the acts done in furtherance of the

conspiracy to avoid detection and apprehension by law enforcement authorities.

      9.     With respect to EDGAR ROQUE and           O1VIAR   RAMIREZ, the offense

involved 1 kilogram or more of a mixture and substance containing a detectable

amount of heroin, a Schedule I Controlled Substance.

      10. with respect to EDGAR ROQUE, RICTTARD RoeuE,                    MARTELL
JACKSON, and OMAR RAMIREZ, the offense involved 5 kilograms or more of a

mixture and substance containing a detectable amount of cocaine, a Schedule II

Controlled Substance.

      AII in violation of fitle 21, United States Code, Section 846, and Title     18,

United States Code, Section 2.
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       The SPECIAL AUGUST 2015 GRAIID JURY further charges:

       1.    On or about July 31, 2014, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                                  EDGAR ROQUE,
                   also known as "Eggy r" "E.r" "Cholor" and "Jesse,"
                                   PHILLP DTAZ,
                              also known as "PHr" and
                                JESUS VALENCIA,
                           also known as "IC'and "Cocol,"

defendants herein, did attempt to knowingly and intentionally possess with intent to

distribute a controlled substance, nuunely, a quantity of a mixture and substance

containing a detectable amount of cocaine, a Schedule      II   Controlled Substance, in

violation of Title 21, United States Code, Section 841(aX1);

      In violation of Title 21, United States Code, Section 846; and Title 18, United

States Code, Section 2.

      2.     With respect to EDGAR ROQUE and JESUS VALENCIA, the offense

involved 500 grams or more of a mixture and substance containing a detectable

amount of cocaine, a Schedule   II Controlled Substance.




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      The SPECIAL AUGUST 2015 GRAI,ID JURY turther charges:

      On or about August L5, 2014, at finley Park, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                                 ANTHONYKOON,

defendant herein, did knowingly and intentionally distribute a controlled substance,

namely, a quantity of a mixture and substance containing a detectable amount of

heroin, a Schedule I Controlled Substance;

      In violation of Title 21, United States Code, Section 841(aX1), and Title   18,

United States Code, Section 2.
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                                       COT]IYI FOUR
       The SPECIAL AUGUST 2015 GRAND JURY further charges:

       1.      On or about August L5, 2074, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                                  OMAR RAMIREZ,
                    also known as "Macizor" "Cizo," and "Cecilr" and
                                GERARDO SANCIIEZ,
                               also known as "Morrow,"

defendants herein, did knowingly and intentionally possess with intent to distribute

a controlled substance, nElmely, a quantity of a mixture and substance containing a

detectable amount of heroin, a Schedule I Controlled Substance;

      In violation of fitle 21, United States Code, Section 841(aX1), and Title    L8,

United States Code, Section 2.

      2.      With respect to OMAR RAMIREZ, the offense involved 1 kilogram or

more of a mixture and substance containing a detectable amount of heroin, a

Schedule   I Controlled   Substance.




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                                   COI,]I{T FTVE
      The SPECIAL AUGUST 201b GRAND JURY turther charges:

      On or about November 6,2014, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                          ANGELICA CERVANTES and
                            JUAN J. CERVANTES,

defendants herein, did knowingly and intentionally possess with intent to distribute

a controlled substance, narnely, a quantity of a mixture and substance containing a

detectable amount of heroin, a Schedule I Controlled Substance;

      In violation of fitle 21, United States   Code, Section 841(a)(1), and   Title   18,

United States Code, Section 2.




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      The SPECIAL AUGUST 2015 GRAND JIIRY further charges:

      On or about November 6,20L4, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                            ANGELICA CERVANTES,

defendant herein, did knowingly and intentionally possess with intent to distribute a

controlled substance, namely, a quantity of a mixture and substance containing a

detectable amount of cocaine, a Schedule   II Controlled   Substance;

      In violation of Title 21, United States Code, Section 841(a)(1); and Title   18,

United States Code, Section 2.




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                             FORX'EITT]RE ALLE GATION

        The SPECIAL AUGUST 201b GRAND JIIRY alleges:

        1.    Upon conviction of an offense in violation ofTitle 21, United States Code,

 Sections 8a1(aX1)   or   846, as set forth   in this Superseding Indictment,    defend.ants

 shall forfeit to the United States of America       arLy   property which constitutes or is

 derived from proceeds obtained, directly and indirectly, as a result of the offense; and

 any property used or intended to be used, in any manner or part, to commit and

facilitate commission of the offense, as provided in Title 21, United States Code,

Section 853(a).

       2.     The property to be forfeited includes, but is not limited to:

              a.     a personal money judgment in the amount of approximately
                     $5,000,000 as to EDGAR ROQUE, RICIIARD ROeUd,
                     ANGELICA CERVANTES, ruAN J. CERVANTES, TVAN DTAZ,
                     PHILLIP DIAZ, IVIARTELL JACKSON, ANTHONY KOON,
                     JOS6 ANTONIO MIRELES, JR., JORGE LUIS    OCHOA-
                     CANELA, OMAR RAMIREZ, GERARDO SANCHEZ, and.JESUS
                     VAIENCIA.
       3.    If any of the property described above, as a result of any act or omission
by a defendant: cannot be located upon the exercise of due diligence; has been
transferred or sold to, or deposited with, a third party; has been placed beyond, the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled   with other property which cannot be divided without difficulty, the




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United States of America shall be entitled to forfeiture of substitute property,   as

provided by   fitle   21, United States Code Section 853(p).

                                                 A TRUE BILL:



                                                 FOREPERSON



UNITED STATES ATTORNEY




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